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                         UNITED STATES DISTRICT COURT

                        WESTERN DISTRICT OF LOUISIANA

                               SHREVEPORT DIVISION


 WUELLNER OIL & GAS, INC.,                     CIVIL ACTION NO.10-1686
 MARSHALL OIL & GAS, INC.,
 TEXAS GAS DEVELOPMENT, L.P.,
 AND JARRATT ENTERPRISES, L.L.C.

 VERSUS                                        JUDGE FOOTE

 ENCANA OIL & GAS (USA) INC.                   MAGISTRATE HORNSBY


                     RULE 26(F) CASE MANAGEMENT REPORT

        A meeting of counsel was held on December 17, 2010, by telephone.   The
 following persons participated:

       EnCana Oil & Gas (USA) Inc.,
       through its counsel of record,
       John T. Kalmbach

       Wuellner Oil & Gas, Inc.
       Marshall Oil & Gas, Inc.
       Texas Gas Development, L.P.
       Jarratt Enterprises, L.L.C.
       Through its counsel of record,
       Philip E. Downer, III

 1.    Nature of Plaintiffs’ Claim.

        The Plaintiffs claim that defendant EnCana Oil & Gas (USA) Inc. breached
 certain terms of a contract relating to mineral rights.

 2.    Bench or Jury Trial.

       No party has demanded a jury trial.

 3.    Initial Disclosures.

       The parties have exchanged initial disclosures.
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 4.    Jurisdiction.

       No party is challenging the court’s jurisdiction over the case.

 5.    Joinder of Parties and Amendment of Pleadings.

       A.      The parties would like additional time within which to consider the need to
               amend their pleadings and/or add other parties.

       B.     Not applicable.

       C.     Proposed deadline for amendments: February 27, 2011.

 6.    Discovery Issues.

       A.     There are no discovery disputes at this time.

       B.     Proposed discovery deadline: June 27, 2011.

       C.     The parties may pose discovery request, which would require the
              disclosure of emails and other electronically stored information. However,
              at this time, the parties anticipate that hard copies of such evidence would
              suffice.

 7.    Motion Practice.

       A.     There are no motions pending at this time.

       B.     All parties anticipate filing one or more dispositive motions. The proposed
              deadline for dispositive motions is July 27, 2011.

 8.    Alternative Dispute Resolution.

       At this time, the parties are not amenable to alternative dispute resolution. The
       parties may consider mediation after discovery.

 9.    Related Cases.

       The parties are unaware of any related cases pending before the Western
       District of Louisiana.




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                                           DOWNER, HUGUET & WILHITE, LLC

                                           By:s/ Philip E. Downer, III_________
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                                           By:s/ John T. Kalmbach __________
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                                           GAS (USA) INC.




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                          LOCAL RULE 5.7.08W CERTIFICATE

        Pursuant to Local Rule 5.7.08W, the filing attorney certifies that the other

 signatory has expressly agreed to the form and substance of the document and that the

 filing attorney has the signatory’s actual authority to submit the document electronically,

 using his electronic signature.

        Shreveport, Louisiana, this 7th day of January, 2011.


                                                      s/ John T. Kalmbach
                                                           OF COUNSEL




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                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a copy of the above and foregoing was filed with the

 United States District Court for the Western District of Louisiana by electronic case

 filing/case management and that a copy of the same was either served on all counsel of

 record by electronic notification or by U.S. Mail, postage pre-paid.

        Shreveport, Louisiana, this 7th day of January, 2011.



                                                      s/ John T. Kalmbach
                                                           OF COUNSEL




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